       Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 1 of 25




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

UNITED STATES OF AMERICA,

                Plaintiff,

 vs.
                                                        Case No. 4:24-cv-00162-SHL-SBJ
STATE OF IOWA; KIMBERLY REYNOLDS,
in her official capacity as Governor of the State
                                                        ORDER GRANTING MOTION
of Iowa; BRENNA BIRD, in her official
                                                           FOR PRELIMINARY
capacity as Attorney General of the State of
                                                              INJUNCTION
Iowa; IOWA DEPARTMENT OF PUBLIC
SAFETY; and STEPHAN K. BAYENS, in his
official capacity as Commissioner of Iowa
Department of Public Safety,

                Defendants.

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

IOWA MIGRANT MOVEMENT FOR
JUSTICE; JANE DOE; and ELIZABETH ROE,


                Plaintiffs,
                                                        Case No. 4:24-cv-00161-SHL-SBJ
 vs.
                                                        ORDER GRANTING MOTION
BRENNA BIRD, in her official capacity as
                                                           FOR PRELIMINARY
Attorney General of the State of Iowa;
                                                              INJUNCTION
KIMBERLY GRAHAM, in her official capacity
as Polk County Attorney; and ZACH
HERRMANN, in his official capacity as Clayton
County Attorney,

                Defendants.




                                                    1
          Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 2 of 25




I.         INTRODUCTION.
           Dissatisfied with how the United States Government is handling immigration, the Iowa
Legislature decided to take matters into its own hands by enacting new legislation (known as
Senate File 2340) that, among other things: (i) imposes criminal penalties under state law for
certain immigration-related offenses; and (ii) requires state court judges to order noncitizens to
return to the foreign countries from which they came. As a matter of politics, the new legislation
might be defensible. As a matter of constitutional law, it is not. Under binding Supreme Court
precedent, Senate File 2340 is preempted in its entirety by federal law and thus is invalid under
the Supremacy Clause. The Court therefore GRANTS the motions for preliminary injunction filed
by Plaintiffs in these related cases and ENJOINS the enforcement of Senate File 2340 pending
further proceedings.
II.        BACKGROUND.
           A. Senate File 2340.
           On April 10, 2024, Iowa Governor Kim Reynolds signed into law Senate File 2340, which
adds Chapter 718C to the Iowa Code. The law goes into effect on July 1, 2024, and creates two
new criminal offenses under Iowa law. The first, codified at Iowa Code § 718C.2(1), states:
                    1. A person who is an alien commits an offense if the person enters,
                       attempts to enter, or is at any time found in this state under any of the
                       following circumstances:
                             a.       The person has been denied admission to or has been
                                      excluded, deported, or removed from the United States.
                             b.       The person has departed from the United States while an
                                      order of exclusion, deportation, or removal is outstanding.
Iowa Code § 718C.1(1) defines “alien” to “mean[] the same as defined in 8 U.S.C. § 1101, as of
January 1, 2023.” As of January 1, 2023, “alien” was defined as “any person not a citizen or
national of the United States.” 8 U.S.C. § 1101(a)(3). 1 A violation of § 718C.2(1) is generally an
aggravated misdemeanor, although it can be a class “C” or “D” felony if the person has qualifying
prior convictions or satisfies other conditions. See id. § 718C.2(2).
           The second new criminal offense is codified at § 718C.5(1), which states:
                    1. A person who is an alien commits an offense if all of the following are
                       true:



1
    The definition of “alien” remains the same today.

                                                        2
       Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 3 of 25




                          a.       The person has been charged with or convicted of an offense
                                   under this chapter.
                          b.       A judge has issued an order under this chapter for the person
                                   to return to the foreign nation from which the person entered
                                   or attempted to enter.
                          c.       The person failed to comply with the order.
A violation of § 718C.5(1) is a class “C” felony. Id. § 718C.5(2).
        Following a person’s initial appearance on the charge of violating §§ 718C.2(1) or
718C.5(1), a state court judge is permitted to issue a written order “discharg[ing] the person and
requir[ing] the person to return to the foreign nation from which the person entered or attempted
to enter….” Id. § 718C.4(3). Such an order is permitted only with the person’s consent, and only
if the person has not been previously convicted of an offense under Chapter 718C. Id. If a person
charged with an offense under Chapter 718C does not consent to an order requiring them to return
to the foreign nation, the State may continue with the prosecution under §§ 718C.2(1) or
718C.5(1). Id. Section 718C.6 states: “A court may not abate the prosecution of an offense under
this chapter on the basis that a federal determination regarding the immigration status of the person
is pending or will be initiated.”
        “Upon a person’s conviction of an offense under [Chapter 718C], the judge shall enter in
the judgment in the case an order requiring the person to return to the foreign nation from which
the person entered or attempted to enter. An order issued under this subsection takes effect on
completion of the term of confinement or imprisonment imposed by the judgment.” Id. §
718C.4(4). Such an order must identify the “manner of transportation of the person to a port of
entry” and the “law enforcement officer or state agency responsible for monitoring compliance
with the order.” Id. § 718C.4(5). Iowa Code § 718C.1(2) defines “port of entry” to “mean[] a port
of entry in the United States as designated by 19 C.F.R. pt. 101.” According to the Code of Federal
Regulations, there are two ports of entry in Iowa: the Des Moines International Airport and Quad
Cities International Airport. See 19 C.F.R. § 101.3. 2
        B. The Iowa Migrant Movement for Justice Plaintiffs.
        Plaintiff Iowa Migrant Movement for Justice (“Iowa MMJ”) is a statewide membership-
based legal service and advocacy organization headquartered in Des Moines, Iowa. (Iowa MMJ



2
 The Quad Cities International Airport is actually in Moline, Illinois, and thus it appears that the Code of Federal
Regulations is inaccurate. This is not material to the outcome here.

                                                         3
          Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 4 of 25




Docket 3 ECF 9-5, ¶ 3.) Its legal staff provides immigration representation and consultations to
noncitizens, advising over 2,400 clients in 2023. (Id., ¶¶ 6, 9.) Iowa MMJ’s advocates seek to
improve immigrants’ lives in four ways, through issue campaigns, narrative change, coalition
building, and civic engagement. (Id., ¶¶ 10–15.) Erica Johnson, Iowa MMJ’s founding executive
director, asserts that Senate File 2340 will frustrate Iowa MMJ’s ability to keep providing services.
(Id., ¶¶ 2, 25, 36.) She explains that Senate File 2340 will require Iowa MMJ to expand their intake
process to analyze potential state criminal prosecution for immigration offenses, which will divert
legal staff’s attention away from other priorities and toward things like helping clients fill out
Freedom of Information Act requests to compile a full immigration profile, which wasn’t
previously required. (Id., ¶¶ 27, 29.) As a result, Iowa MMJ won’t be able to serve as many clients
and its grant funding, which requires Iowa MMJ to meet specific deliverables, may be jeopardized.
(Id., ¶ 25.) Iowa MMJ’s legal staff also will need to analyze Senate File 2340’s effect on past
clients and defend clients against prosecution in state court, which, again, will pull resources away
from current projects. (Id., ¶¶ 30–31.) Iowa MMJ’s new focus on these areas will impede its ability
to represent lawful permanent residents in their naturalization applications, help those with DACA
renew their status, and represent Afghan evacuees, all of which are currently among Iowa MMJ’s
“core” services. (Id., ¶¶ 25, 35.)
           According to Johnson, Iowa MMJ’s advocacy work has already changed to accommodate
Senate File 2340. (Id., ¶ 36.) Before the bill passed, staff devoted significant resources to opposing
it. (Id., ¶ 37.) After it was enacted, staff started educating the community about its consequences.
(Id., ¶ 38.) When staff are fielding calls from members about the bill and preparing fact sheets and
arranging speakers to discuss Senate File 2340, they can’t engage in grassroots efforts or traditional
outreach activities, both of which are “core” advocacy functions. (Id., ¶¶ 39–41.) Johnson expects
Senate File 2340 to continue to frustrate Iowa MMJ’s advocacy goals even after the public is
educated; for example, the law will break down community bonds and damage other relationships
Iowa MMJ has worked for years to cultivate. (Id., ¶ 43.)
           Plaintiffs Jane Doe and Elizabeth Roe are members of Iowa MMJ. (Id., ¶¶ 23–24.) Doe is
a lawful permanent resident of the United States and citizen of Mexico. (Iowa MMJ Docket ECF
9-3, ¶ 2.) She is a 68-year-old widow with five children and seventeen grandchildren. (Id.) She has
never been convicted of a crime. (Id., ¶ 3.) In 2000, Doe and her children came to the United States

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    All references to the “Iowa MMJ Docket” are to the electronic case filings in Case No. 4:24-cv-00161.

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      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 5 of 25




to reunite with her husband, who was a United States citizen. (Id., ¶¶ 5, 9.) In 2005, she returned
to Mexico after her mother passed away. (Id., ¶ 10.) When Doe tried to reenter the United States a
few months later, she was stopped by immigration officials, detained for about half a day, and sent
back to Mexico. (Id.) She was issued a removal order. (Id.)
       Because Doe’s husband had U.S. citizenship, he was able to file a petition for her to return
to the United States. (Id., ¶ 12.) However, he died before it was approved. (Id.) After his death, the
petition was converted to a widow petition and eventually approved, with her prior removal order
being waived. (Id., ¶¶ 13–15.) As a result of the approval, Doe obtained a green card and became
a lawful permanent resident. (Id., ¶¶ 14–15.) She settled in Garnavillo, Iowa, because two of her
daughters live in Iowa for work. (Id., ¶ 16.) She is using the pseudonym “Jane Doe” because she
is scared of being prosecuted under the law and removed to Mexico. (Id., ¶ 17.) She also wants to
avoid the stress and anxiety of having her name made public. (Id., ¶ 20.)
       Roe is a lawful permanent resident of the United States and citizen of Columbia. (Iowa
MMJ Docket ECF 9-4, ¶ 2.) She is forty years old and married to a United States citizen. (Id.) She
has never been convicted of a crime. (Id., ¶ 3.) She came to the United States for the first time in
September 2016 to reunite with her brothers, both of whom are United States citizens. (Id., ¶ 6.)
Immigration officials detained her at the border for twenty-four hours and gave her an expedited
removal order. (Id., ¶ 7.) However, they released her from custody and allowed her to go to Iowa,
subject to the requirement that she report to the immigration office every month. (Id.) In February
2017, Roe was deported for missing a reporting date. (Id., ¶¶ 8–9.) She married her husband in
Columbia in April 2018, and he applied for her to obtain a green card and return to the United
States to live with him. (Id., ¶ 10.) Her prior removal order was waived as part of the green card
application process, and the application was eventually approved. (Id., ¶¶ 11, 13.) She returned to
the United States as a lawful permanent resident in May 2023. (Id., ¶ 13.) She now lives in Des
Moines, Iowa. (Id., ¶ 4.) She is using the pseudonym “Elizabeth Roe” because she is afraid of the
consequences of her true name becoming public. (Id., ¶ 16.)
       C. Potential Impacts of Senate File 2340 on Federal Immigration Laws and International
          Relations.
       The United States submitted three Declarations regarding the impact of Senate File 2340.
The first is from Eric Jacobstein, who is employed by the United States Department of State as




                                                  5
          Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 6 of 25




Deputy Assistant Secretary in the Bureau of Western Hemisphere Affairs. (United States Docket 4
ECF 7-2, ¶ 1.) According to Jacobstein, Senate File 2340 threatens to harm United States foreign
relations in four ways: (1) it antagonizes foreign governments; (2) it threatens to undermine the
federal government’s comprehensive policy framework for addressing regional irregular
migration; (3) it is inconsistent with the United States’ treaty obligations; and (4) it risks reciprocal
and retaliatory treatment of United States citizens abroad. (Id., ¶ 8.)
           As it relates to animosity with foreign governments, Jacobstein says the Mexican
government has already expressed concerns about SF 2340 in public statements and during
meetings with State Department and White House officials. (Id., ¶ 11.) The Mexican government
expressed similar concerns with a recent bill enacted in Texas, known as “S.B. 4,” which has
considerable overlap with Senate File 2340. (Id., ¶ 12.) Like S.B. 4, Jacobstein says one of the
challenges with Senate File 2340 is that it permits Iowa state judges to order removal of a person
to the country from which the person entered, without knowing whether the person is a citizen of
that country or if that country will accept them. (Id., ¶ 13.) This will “frustrate the United States’
relations with other countries regarding noncitizen removals and likely other important bilateral
issues.” (Id.) According to Jacobstein, Senate File 2340 also affects the efficacy of federal actions
to secure the border and stem irregular migration. (Id., ¶ 15.) He says that “[d]iplomatic discussions
concerning migration are delicate and cannot be successful if the government does not speak with
one voice.” (Id., ¶ 16.)
           As it relates to comprehensive foreign policy strategy, Jacobstein says the United States
“must establish long-term strategic partnerships with the governments in the [North and Central
American] region to catalyze structural change to root out corruption and impunity, improve
security and the rule of law, and increase economic opportunity.” (Id., ¶ 18.) The United States
has used an executive order, Executive Order 14010, to “outline[] a comprehensive foreign-policy
framework to collaboratively manage migration.” (Id., ¶ 19.) This has resulted in cooperative
strategies with foreign governments like Mexico. (Id., ¶¶ 19–21.) These strategies are designed,
among other things, to strengthen asylum systems and regularization programs in countries other
than the United States. (Id., ¶ 22.) Jacobstein says Senate File 2340 undermines these efforts
because it is inconsistent with the United States’ treaty obligations and therefore damages the
country’s credibility. (Id., ¶¶ 23–24.)

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    All references to “United States Docket” are to the electronic case filing system in Case No. 4:24-cv-00162.

                                                            6
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 7 of 25




       Speaking of treaty obligations, Jacobstein says Senate File 2340 is inconsistent with the
Convention Against Torture and Other Cruel, Inhuman, or Degrading Treatment or Punishment
(the “Convention Against Torture”), which prohibits the return of noncitizens to countries where
they face torture. (Id., ¶ 25.) Similarly, under the 1967 United Nations Protocol Relating to the
Status of Refugees (the “Refugee Protocol”), noncitizens may be entitled to withholding of
removal if they will face persecution in the country to which they would be returned on the basis
of race, religion, nationality, membership in a particular social group, or political opinion. (Id.)
Jacobstein points out that Senate File 2340 contains no exception for an individual who fears
persecution or torture and therefore could result in “refoulement,” which occurs when a noncitizen
is constructively or actually forced to return to a place where the noncitizen will face persecution
or torture. (Id., ¶¶ 26–27.) Not only would this potentially violate the United States’ treaty
obligations, it also would compromise the United States’ credibility in negotiations with foreign
governments on the same and similar issues. (Id., ¶¶ 28–29.)
       Finally, Jacobstein says Senate File 2340 will create a risk of reciprocal and retaliatory
treatment of United States citizens at home and abroad. (Id., ¶ 30.) For example, he points out that
Russia passed a law in 2012 banning the adoption of Russian children by United States citizens in
retaliation for the United States passing a law designed to punish Russian officials for the death of
a Russian prisoner. (Id.) Jacobstein reiterates that “it is critically important that national
immigration policy be governed by a uniform legal regime, and that decisions regarding the
development and enforcement of immigration policy be made by the federal government, so that
the United States can speak to the world with one voice.” (Id., ¶ 32.)
       The United States’ second Declaration is from Ted Kim, the Associate Director of the
Refugee, Asylum and International Operations (“RAIO”) Directorate within the U.S. Citizenship
and Immigration Services (“USCIS”), U.S. Department of Homeland Security (“DHS”). (United
States Docket ECF 7-3, ¶ 1.) Kim’s Declaration focuses on the asylum application process in the
United States, which is a detailed and comprehensive process designed to ensure that noncitizens
are not returned to countries where they may be tortured or persecuted. (Id., ¶¶ 4–8.) Federal
asylum laws and regulations are designed, among other things, to satisfy the United States’
obligations under the nonrefoulement provisions of the Convention Against Torture and Refugee
Protocol. (Id., ¶¶ 4–5.) Asylum applications can be filed proactively by noncitizens to USCIS or
defensively in removal proceedings before the Department of Justice’s Executive Office for

                                                 7
       Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 8 of 25




Immigration Review (“EOIR”). (Id., ¶ 6.) Either way, specially trained federal officials and judges
evaluate whether the noncitizen has a credible fear of persecution or torture. (Id., ¶¶ 14–15.)
According to Kim, Senate File 2340 “does not appear to have any of the safeguards in place for
asylum applicants, or for noncitizens seeking withholding of removal or protection under the
Convention Against Torture that are available under U.S. law.” (Id., ¶ 16.) Accordingly, in his
view, Senate File 2340 will impact potential and actual asylum applicants, as well as noncitizens
applying for statutory withholding from removal and protection under the Convention Against
Torture. (Id., ¶ 17.) “Furthermore, noncitizens detained under SF 2340, or removed from the
United States, would be unable to participate fully in federal immigration proceedings,” thus
potentially impacting the outcome of those proceedings. (Id., ¶ 18.)
        The United States’ third and final Declaration is from Russell Hott, the Deputy Executive
Associate Director of DHS, United States Immigration and Customs Enforcement (“ICE”), and
Enforcement and Removal Operations (“ERO”). (United States Docket ECF 7-4, ¶ 1.) ICE is
responsible for enforcing more than 400 federal statutes, and its mission includes removing
noncitizens who lack lawful immigration status or are otherwise removable under federal law. (Id.,
¶ 6.) For non-detained individuals alone, ICE manages a docket of more than 7.2 million cases.
(Id., ¶ 7.) There are over 6,000 immigration officers employed by ERO, plus another 6,100 Special
Agents employed by ICE’s law enforcement component, Homeland Security Investigations. (Id.,
¶ 8.) Effective November 29, 2021, the Secretary of Homeland Security issued Department-wide
guidance prioritizing DHS’s limited law enforcement resources on the apprehension and removal
of noncitizens who threaten national security, public safety, and border security. (Id., ¶¶ 9–10.)
Hott’s Declaration summarizes the removal process under the Immigration and Nationality Act,
which involve due process protections, multiple avenues for relief, and several layers of review by
immigration judges and Article III judges. (Id., ¶¶ 11–17.) Hott says that Senate File 2340 “does
not appear to ensure comparable procedures,” but rather requires state court judges to proceed with
prosecutions under Iowa Code Chapter 718C even if federal proceedings are pending or may be
initiated. (Id., ¶ 18.)
        According to Hott, as of April 14, 2024, ICE has almost 5,000 cases involving a final order
of removal for a person with a last claimed address in Iowa. (Id., ¶ 19.) In addition, ERO has more
than 23,000 cases involving non-detained noncitizens who provided a last claimed address in Iowa.
(Id.) If Iowa imposes criminal penalties for unlawful reentry by noncitizens, it might lead those

                                                 8
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 9 of 25




citizens to depart Iowa for other states, thus straining ICE’s resources to try to find them. (Id., ¶
20.) Moreover, Hott says Iowa has not identified a mechanism for effectuating and verifying the
return of noncitizens to the country from which they entered, thus creating the risk of potential
confusion and strained relationships. (Id., ¶ 21.) The immigration laws passed by Iowa and other
states, if allowed to go into effect, will create “a piecemeal system of immigration” and force the
federal government to “navigate an impossible patchwork of regulations affecting the enforcement
of federal law.” (Id., ¶ 22.)
        D. Procedural Posture.
        On May 9, 2024, the Iowa MMJ Plaintiffs filed their Complaint for Declaratory and
Injunctive Relief against Iowa Attorney General Brenna Bird, Polk County Attorney Kimberly
Graham, and Clayton County Attorney Zach Herrmann. (Iowa MMJ Docket ECF 1.) Later the
same day, the United States filed its Complaint against the State of Iowa, Iowa Governor Kim
Reynolds, Iowa Attorney General Bird, the Iowa Department of Public Safety, and Iowa
Department of Public Safety Commissioner Stephan Bayens. (United States Docket ECF 1.) Both
the Iowa MMJ Plaintiffs and United States seek a declaratory judgment and preliminary and
permanent injunctive relief enjoining the enforcement of Senate File 2340. On May 10, 2024, the
Iowa MMJ Plaintiffs formally moved for a preliminary injunction, supported by declarations.
(Iowa MMJ Docket ECF 9.) The United States followed suit three days later, also supported by
declarations. (United States Docket ECF 7.) In the Iowa MMJ Case, Defendants Graham and
Herrmann have agreed to comply with any injunction the Court might enter but otherwise have
agreed with the Iowa MMJ Plaintiffs to a stay. (Iowa MMJ Docket ECF 26, ECF 33.) All other
Defendants resist the motions for preliminary injunction. (Iowa MMJ Docket ECF 36; United
States Docket ECF 19.) These Defendants did not submit declarations or present other factual
evidence; rather, they resist the motions for preliminary injunction entirely on legal grounds. (For
simplicity, this Order will use the term “Defendants” or the “State” to refer to all Defendants other
than Graham and Herrmann.)
        The Court has not formally consolidated the two cases. In the interest of efficiency,
however, the Court did hold a single hearing on the two motions for preliminary injunction. The
Court is likewise issuing this single ruling to address both motions, although the unique features
of each case will be discussed where relevant below.



                                                 9
       Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 10 of 25




III.    PRELIMINARY INJUNCTION STANDARD.
        “A preliminary injunction is an extraordinary remedy never awarded as of right.” Tumey
v. Mycroft AI, Inc., 27 F.4th 657, 664 (8th Cir. 2022) (quoting Winter v. Nat. Res. Def. Council,
Inc., 555 U.S. 7, 24 (2008)). “[T]he burden of establishing the propriety of an injunction is on the
movant.” Turtle Island Foods, SPC v. Thompson, 992 F.3d 694, 699 (8th Cir. 2021). The Court
must consider four factors: “(1) the threat of irreparable harm to the movant; (2) the state of the
balance between this harm and the injury that granting the injunction will inflict on other parties
litigant; (3) the probability that [the] movant will succeed on the merits; and (4) the public interest.”
Sleep No. Corp. v. Young, 33 F.4th 1012, 1016 (8th Cir. 2022) (alteration in original) (quoting
Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d 109, 113 (8th Cir. 1981) (en banc)). “While no
single factor is determinative, the probability of success factor is the most significant.” Carson v.
Simon, 978 F.3d 1051, 1059 (8th Cir. 2020) (cleaned up). For actions that seek to enjoin the
enforcement of a duly enacted state statute, the moving parties must show that they are likely to
prevail on their claims. D.M. by Bao Xiong v. Minn. State High Sch. League, 917 F.3d 994, 1000
(8th Cir. 2019). This is a higher standard than applies in other preliminary injunction cases. See id.
“We apply a heightened standard in such instances because the duly enacted state statute
constitutes government action based on presumptively reasoned democratic processes, and such
action is entitled to a higher degree of deference and should not be enjoined lightly.” Id. (internal
punctuation and citation omitted).
        With respect to the remaining three factors, a plaintiff “is not required to prove with
certainty the threat of irreparable harm, but it must prove that ‘irreparable injury is likely in the
absence of an injunction.’” Sleep No. Corp., 33 F.4th at 1018 (quoting Winter, 555 U.S. at 22).
“Irreparable harm occurs when a party has no adequate remedy at law, typically because its injuries
cannot be fully compensated through an award of damages.” Gen. Motors Corp. v. Harry Brown’s,
LLC, 563 F.3d 312, 319 (8th Cir. 2009). “In balancing the equities, [the Court] weigh[s] ‘the threat
of irreparable harm’ shown by the movant against ‘the injury that granting the injunction will
inflict on other parties litigant.’” MPAY Inc. v. Erie Custom Comput. Applications, Inc., 970 F.3d
1010, 1020 (8th Cir. 2020) (quoting Dataphase Sys., 640 F.2d at 113.) This “requires a court to
distinguish between weak or illusory injuries and very real threats of injuries.” Rodriguez v.
Molina, 608 F. Supp. 3d 791, 798 (S.D. Iowa 2022) (cleaned up). It considers harm to both the
litigants and other interested parties, like the public. Wachovia Sec., L.L.C. v. Stanton, 571 F. Supp.

                                                   10
        Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 11 of 25




2d 1014, 1047 (N.D. Iowa 2008). The last factor, the public interest, “invites the court to indulge
in broad observations about conduct that is generally recognizable as costly or injurious.” Id. at
1048.
IV.      LEGAL ANALYSIS: STANDING.
         A. Legal Background.
         As a preliminary matter, the Court must decide whether: (a) the United States has standing
to challenge Section 4 5 of Senate File 2340, which requires state court judges to enter orders
requiring certain noncitizens to return to the foreign countries from which they came 6; and (b) the
Iowa MMJ Plaintiffs have standing to challenge any aspect of Senate File 2340. To establish
standing, “a plaintiff must present a ‘case’ or ‘controversy’ within the meaning of Article III of
the Constitution.” Braden v. Wal-Mart Stores, Inc., 588 F.3d 585, 591 (8th Cir. 2009). “This
‘irreducible constitutional minimum of standing’ requires a showing of ‘injury in fact’ to the
plaintiff that is ‘fairly traceable to the challenged action of the defendant,’ and ‘likely [to] be
redressed by a favorable decision.’” Id. (quoting Lujan v. Defs. of Wildlife, 504 U.S. 555, 560–61
(1992)). “Whether a plaintiff has shown such an injury ‘often turns on the nature and source of the
claim asserted.’” Id. (quoting Warth v. Seldin, 422 U.S. 490, 500 (1975)). “[T]he question whether
he has a cognizable injury sufficient to confer standing is closely bound up with the question of
whether and how the law will grant him relief.” Id.
         B. The United States Has Standing to Challenge Senate File 2340 in Its Entirety.
         Defendants argue that the United States lacks standing to challenge Section 4 because it
imposes requirements on state court judges, none of whom are defendants. (United States Docket
ECF 19, p. 18.) 7 To support their argument, Defendants rely on the Eighth Circuit’s decision in
Digital Recognition Network, Inc. v. Hutchinson, which involved a constitutional challenge to an
Arkansas statute making it unlawful to use automatic license plate reader systems. 803 F.3d 952,
955 (8th Cir. 2015). The Arkansas statute was not enforceable by state or local prosecutors, but
rather through private actions for damages. Id. at 958. The Eighth Circuit therefore held that the
plaintiff did not have standing to sue the Arkansas Governor or Attorney General. Id. at 957–58.

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  Codified at Iowa Code § 718C.4.
6
  Defendants concede that the United States has standing to challenge the portions of Senate File 2340 other than
Section 4.
7
  All citations are to the page numbers in the upper righthand corner of each page, which are auto-populated by the
electronic case filing system. These page numbers are often different than those placed by the parties at the bottom of
each page.

                                                         11
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 12 of 25




        Defendants are overreading Digital Recognition Network. Unlike a damages award in a
private lawsuit under the Arkansas law, the judicial order contemplated by Section 4 only comes
into effect if the Attorney General or a County Attorney pursues charges against someone under
the criminal provisions of Senate File 2340. The United States’ injury is therefore “fairly traceable”
to these officials. See id. at 957 (quoting Bennett v. Spear, 520 U.S. 154, 167 (1997)). In other
words, there is a causal connection between the injury to the United States and the conduct of the
Attorney General or County Attorney; the injury is not the “result of ‘the independent action of
some third party not before the court.’” Id. (quoting Lujan, 504 U.S. at 560); see also Hawkeye
Commodity Promotions, Inc. v. Miller, 432 F. Supp. 2d 822, 835 (N.D. Iowa 2006) (concluding
that statutory grant of discretion as to when to enforce a law gives attorney general “some
connection with the enforcement” of state law), aff'd sub nom. Hawkeye Commodity Promotions,
Inc. v. Vilsack, 486 F.3d 430 (8th Cir. 2007). There is nothing in Digital Recognition Network to
suggest standing is absent in these circumstances; to the contrary, the Eighth Circuit has affirmed
standing in analogous situations. See 281 Care Comm. v. Arneson, 638 F.3d 621, 631 (8th Cir.
2011) (“When a statute is challenged as unconstitutional, the proper defendants are the officials
whose role it is to administer and enforce the statute.”).
        C. The Iowa MMJ Plaintiffs Have Standing to Challenge Senate File 2340 in Its Entirety.
        Defendants also dispute the standing of the Iowa MMJ Plaintiffs, whom Defendants argue
cannot challenge any aspect of Senate File 2340. Defendants argue that Plaintiffs Doe and Roe
lack standing because they are lawful permanent residents to whom, in Defendants’ view, Senate
File 2340 does not apply. (Iowa MMJ Docket ECF 36, p. 17.) Similarly, Defendants argue that
Iowa MMJ lacks direct or organizational standing because its Complaint merely identifies: (a)
three Iowa MMJ members who are authorized to be in the United States, none of whom, according
to Defendants, are at risk of injury if Senate File 2340 goes into effect; and (b) one member,
identified as “David,” for whom there is insufficient detail to plausibly establish the requirements
for standing. (Id., p. 19.) Defendants also argue that Iowa MMJ lacks organizational standing
because the diversion of resources the entity claims it will experience from the enactment of Senate
File 2340 is self-inflicted and does not constitute an injury-in-fact. (Id., pp. 19–21.)
        As to Plaintiffs Doe and Roe, Defendants’ arguments revolve largely around the proper
interpretation of Iowa Code § 718C.2(1), which makes it a criminal offense if “[a] person who is
an alien . . . enters, attempts to enter, or is at any time found in this state under any of the following


                                                   12
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 13 of 25




circumstances: a. The person has been denied admission to or has been excluded, deported, or
removed from the United States[;] b. The person has departed from the United States while an
order of exclusion, deportation, or removal is outstanding.” Defendants argue that criminal liability
depends on the person’s current immigration status and that the statute does not apply to someone
who was previously deported or removed but is now lawfully in the United States.
       Defendants’ argument is difficult to square with the statutory language. Each of Plaintiffs
Doe and Roe is an “alien[] . . . in this state . . . [who] has been denied admission to or has been
excluded, deported, or removed from the United States.” Id. In Doe’s case, this occurred when she
tried to reenter the United States after returning to Mexico following her mother’s death in 2005;
in Roe’s case, it occurred when she was deported for failing to report to the immigration office in
February 2017. There is no exception in § 718C.2(1) for an alien whose removal order has been
waived or who otherwise has been granted permission to be in the country after previously having
been “denied admission” or “excluded, deported, or removed.” To the contrary, the statute’s
repeated and insistent use of the past tense—i.e., “denied,” “excluded,” “deported,” and
“removed”—indicates that a person will be criminally liable based on what happened in the past,
not based on current legal status. Or, at least, this interpretation of the statute is plausible enough
to give Doe and Roe standing, as it gives them a credible fear of prosecution. See Ark. Right to
Life State Pol. Action Comm. v. Butler, 146 F.3d 558, 560 (8th Cir 1998) (“Plaintiffs, however, are
not required to expose themselves to arrest or prosecution under a criminal statute in order to
challenge a statute in federal court.”); see also Babbitt v. United Farm Workers Nat. Union, 442
U.S. 289, 302 (1979) (holding that standing existed even though criminal penalty provision had
not yet been applied, as fear of prosecution was not “imaginary or wholly speculative” where
provision “on its face” proscribed the proposed conduct and state “ha[d] not disavowed” any
intention of invoking it).
       Defendants urge the Court to avoid this problem by applying the principle that courts
should “interpret a statute to avoid doubt as to its constitutionality.” Crowell v. State Pub. Def.,
845 N.W.2d 676, 689 (Iowa 2014). To that end, Defendants argue that Iowa Code § 718C.2(1)
was modeled after the federal illegal reentry statute, 8 U.S.C. § 1326(a), and therefore should be
interpreted the same way. There is, however, a glaring problem with this argument. True, the
federal and Iowa statutes start in the same place by making it a crime for an alien to be present
after having been “denied admission, excluded, deported, or removed or ha[ving] departed the

                                                  13
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 14 of 25




United States while an order of exclusion, deportation, or removal is outstanding.” The federal
statute goes on, however, to state that a person has not committed the offense of illegal reentry if:
                (A) prior to his reembarkation at a place outside the United States or his
                application for admission from foreign contiguous territory, the Attorney
                General has expressly consented to such alien’s reapplying for admission;
                or (B) with respect to an alien previously denied admission and removed,
                unless such alien shall establish that he was not required to obtain such
                advance consent under this chapter or any prior Act.
8 U.S.C. § 1326(a)(2). In other words, a person with lawful permanent resident status has a defense
under federal law to the charge of illegal reentry. See United States v. Sandoval-Gonzalez, 642
F.3d 717, 724 (9th Cir. 2011). But there is no comparable language in Iowa Code § 718C.2(1).
        This difference between the Iowa and federal illegal reentry statutes is crucially important
in two respects. First, as a matter of pure statutory interpretation, 8 U.S.C. § 1326(a)(1) and Iowa
Code § 718C.2(1) both use the past tense to describe the circumstances that constitute illegal
reentry; i.e., a person is guilty if the person is present or tries to reenter the country but “has been
denied admission, excluded, deported, or removed or has departed the United States while an order
of exclusion, deportation, or removal is outstanding.” If, as Defendants argue, this language refers
only to current immigration status despite the repeated use of the past tense, there would have been
no reason for Congress to insert defenses into 8 U.S.C. § 1326(a)(2) for noncitizens with permanent
legal status. The fact that Congress inserted those defenses therefore shows that it deliberately used
the past tense in 8 U.S.C. § 1326(a)(1). It would be odd to conclude that the Iowa Legislature used
the very same words in the very same (past) tense in Iowa Code § 718C.2(1) and yet was referring
to current or prevailing legal status, present tense. Yet this is Defendants’ argument: they want the
Court to interpret the same words in the two statutes in two different ways. This is not a persuasive
argument.
        Second, and relatedly, given that the Iowa statute is modeled in every other way on the
federal statute, the Court must give effect to the Iowa Legislature’s conspicuous decision not to
include the defenses that exist under federal law. See State v. Iowa Dist. Ct. for Johnson Cnty., 730
N.W.2d 677, 679 (Iowa 2007) (“Statutory text may express legislative intent by omission as well
as inclusion.”). Indeed, the Iowa Supreme Court has recognized that when state and federal statutes
address the same topic, differences between the two matter. See, e.g., EMC Ins. Grp. v. Shepard,
960 N.W.2d 661, 672 (Iowa 2021) (refusing to apply federal law definition of key term in state
statute; “such a change in the legislative definition must come from the legislature”); MidAmerica

                                                  14
     Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 15 of 25




Sav. Bank v. Miehe, 438 N.W.2d 837, 838 (Iowa 1989) (refusing to adopt federal standards where
the Iowa Legislature “adopted federal law for some, but certainly not all, purposes” relating to the
object of the legislation). The Iowa Supreme Court has similarly recognized that when “Congress
includes particular language in one section of a statute but omits it in another section of the same
Act, it is generally presumed that Congress acts intentionally and purposely in the disparate
inclusion or exclusion.” Oyens Fees & Supply, Inc. v. Primebank, 808 N.W.2d 186, 193 (Iowa
2011) (quoting Chestnut v. Montgomery, 307 F.3d 698, 701–02 (8th Cir. 2002)). Here, these
principles of statutory construction dovetail and require the Court to conclude the Iowa Legislature
was not trying to “mirror” federal illegal reentry law in every respect when it enacted Senate File
2340, but rather wanted to take Iowa’s law in a different direction than federal law by removing
defenses. See Jama v. Immigr. & Customs Enf't, 543 U.S. 335, 341 (2005) (“We do not lightly
assume that Congress has omitted from its adopted text requirements that it nonetheless intends to
apply.”).
       The canon of constitutional avoidance allows the Court to “interpret the statute, not rewrite
it.” Jennings v. Rodriguez, 583 U.S. 281, 286 (2018); accord In re Det. Of Wygle, 910 N.W.2d
599, 617 (Iowa 2018) (“If fairly possible, we will construe a statute to avoid doubt as to
constitutionality.” (emphasis added)). Here, Defendants want the Court to rewrite Senate File 2340
by interpreting the past tense to mean the present tense and add defenses the Iowa Legislature
intentionally chose not to include. This the Court cannot do. See Jennings; 583 U.S. at 286; United
States v. Stevens, 559 U.S. 460, 480–81 (2010).
       There are other problems with Defendants’ interpretation, too, including that their
interpretation of § 718C.2(1) conflicts with their interpretation of § 718C.6, which prohibits a state
court from abating the prosecution of an illegal reentry offense against someone even if a federal
determination regarding the person’s immigration status is pending or will be initiated. Defendants
argue that because § 718C.6 only forbids abatement as to pending and yet-to-be-initiated federal
determinations, the Iowa Legislature must have intended to require abatement when a federal
determination is already final. (United States Docket ECF 28, pp. 43–44.) In other words,
Defendants urge the Court to apply the doctrine of expressio unius est exclusio alterius to conclude
that the Iowa Legislature created a “default rule” of abatement of prosecutions in § 718C.6
whenever the United States has given someone permanent legal status. But Defendants also argue
that the Iowa Legislature did not intend for people with permanent legal status to be prosecuted

                                                 15
       Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 16 of 25




under § 718C.2(1) in the first place. It is difficult to understand why § 718C.6 would need to be
interpretated to mandate prosecutorial abatement when there has been a final federal determination
of someone’s lawful status if § 718C.2(1) doesn’t permit the arrest or prosecution of such a person
at all. In these circumstances, Defendants are effectively admitting the problem they have with the
plain language of § 718C.2(1), which applies to people previously “denied admission” or
“excluded, deported, or removed” without regard to current status. This captures Doe and Roe.
        Because Plaintiffs Doe and Roe satisfy the statutory language as written, they will
“commit[] an offense” if they are “at any time found in this state. . . .” It follows that they have a
credible fear of prosecution, and thus standing to challenge Senate File 2340. The Attorney
General’s promise not to prosecute people within Senate File 2340’s plain language doesn’t change
this. See Stevens, 559 U.S. at 480 (“We would not uphold an unconstitutional statute merely
because the Government promised to use it responsibly.”). Indeed, although the Attorney General
has the discretionary authority to get involved in local prosecutions, she cannot control the
charging decisions made in the first instance by the ninety-nine County Attorneys in Iowa. See
Iowa Code § 13.2(1)(b) (granting discretionary authority to the Attorney General to “[p]rosecute
and defend . . . all actions and proceedings . . . in which the state may be a party or interested,
when, in the attorney general’s judgment, the interest of the state requires such action, or when
requested to do so by the governor, executive council, or general assembly”). It follows that Doe
and Roe have a credible fear of prosecution irrespective of how the Attorney General purports to
interpret the law. See St. Paul Area Chamber of Com. v. Gaertner, 439 F.3d 481, 486 (8th Cir.
2006) (concluding that plaintiffs had credible fear of prosecution despite previous failure to
enforce statute where county attorneys had “taken an oath” to enforce state law); United Food &
Com. Workers Int'l Union, AFL-CIO, CLC v. IBP, Inc., 857 F.2d 422, 429 (8th Cir. 1988) (holding
that standing existed even though state officials had no “present plan” to enforce statute because
state’s position “could well change”). Moreover, even as to the Attorney General, Senate File 2340
is so new that there is no longstanding “state policy” of non-enforcement that the Court could rely
upon to conclude that Doe and Roe lack a credible fear of prosecution. See Gaertner, 439 F.3d at
486.
        Once the standing of Doe and Roe is established, the standing of Plaintiff Iowa MMJ is
established as well. “An association has standing to bring suit on behalf of its members when [1]
its members would otherwise have standing to sue in their own right, [2] the interests at stake are

                                                 16
     Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 17 of 25




germane to the organization's purpose, and [3] neither the claim asserted nor the relief requested
requires the participation of individual members in the lawsuit.” Friends of the Earth, Inc. v.
Laidlaw Env't Servs. (TOC), Inc., 528 U.S. 167, 181 (2000). The association “need not establish
that all of its members would have standing to sue individually so long as it can show that ‘any
one of them’ would have standing.” Iowa League of Cities v. E.P.A., 711 F.3d 844, 869 (8th Cir.
2013) (quoting Warth, 422 U.S. at 511), enforced sub nom. Iowa League of Cities v. Env't Prot.
Agency, No. 11-3412, 2021 WL 6102534 (8th Cir. Dec. 22, 2021).
       The first and third requirements for organizational standing are satisfied because Doe and
Roe have standing, and Iowa MMJ seeks “only declaratory and prospective injunctive relief,”
which makes participation by individual members unnecessary. See Heartland Acad. Cmty.
Church v. Waddle, 427 F.3d 525, 533 (8th Cir. 2005). The second requirement—whether the
“interests at stake are germane to the organization’s purpose”—is also satisfied because Doe’s and
Roe’s right to remain in Iowa as lawful residents goes to the heart of Iowa MMJ’s work. See, e.g.,
Miss. Coal. for Env't v. FERC, 544 F.3d 955, 957 (8th Cir. 2008) (where organization’s mission
was preserving the environment, organization had standing to challenge action that increased risk
of environmental harm). (See also Iowa MMJ Docket ECF 9-5, ¶ 4.) Therefore, Iowa MMJ has
standing based on its members Doe and Roe.
       Although David is not separately named as a plaintiff, he nonetheless gives Iowa MMJ an
alternative basis for standing because the Complaint alleges sufficient facts to plausibly establish
that David would have standing in his own right. The Complaint alleges that David is an Iowa
MMJ member who was deported but returned to the United States shortly after removal to care for
his mother and sister. (Iowa MMJ Docket ECF 1, ¶ 14.) The Complaint further states that he
graduated from high school in Iowa in 2007 and is at risk of being arrested for violating Senate
File 2340. (Id., ¶ 60.) In context, these allegations are fairly read to mean David is in Iowa given
that he: (a) graduated from high school here; (b) is an Iowa MMJ Member; (c) asserts a fear of
arrest for violating Senate File 2340, which could only occur if he is in Iowa (or intends to try to
enter); and (d) never claims to reside anywhere else. David therefore has a credible fear of
prosecution under Senate File 2340. See Babbitt, 442 U.S. at 302. Moreover, unlike Doe and Roe,
both of whom are legally present in the United States under federal law, David does not allege
lawful permanent resident status, and thus he is at risk of prosecution even under Defendants’
proffered interpretation of Senate File 2340’s illegal reentry provisions. See id.

                                                 17
     Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 18 of 25




       For these reasons, the Court concludes that Plaintiffs Doe and Roe have individual standing
and Plaintiff Iowa MMJ has organizational standing. It is unnecessary for the Court to decide
whether Iowa MMJ has standing based on the impact of Senate File 2340 on its own resources.
V.     LEGAL ANALYSIS: DATAPHASE FACTORS.
           A. Plaintiffs Are Likely to Succeed on the Merits.
                   1. The United States Has a Viable Cause of Action in Equity.
       Turning to the merits, Defendants argue, first, that the United States has failed to state a
viable claim because the Supremacy Clause does not create a cause of action where none otherwise
would exist. (United States Docket ECF 19, p. 17.) This argument emanates from Armstrong v.
Exceptional Child Center, Inc., in which health care providers sued state officials in Idaho for
allegedly violating federal law by setting reimbursement rates too low for services covered by
Medicaid. 575 U.S. 320, 323–24 (2015). The Supreme Court held that the providers had no cause
of action under the Supremacy Clause, nor could they proceed in equity. Id. at 327, 329.
       Defendants’ reliance on Armstrong is unpersuasive. Three years before Armstrong, the
Supreme Court decided Arizona v. United States, holding that federal immigration laws preempted
an Arizona law imposing criminal penalties for immigration-related offenses and authorizing state
officials to investigate and make arrests for immigration violations. 567 U.S. 387 (2012). The
United States initiated Arizona by suing Arizona officials in equity for violating the Supremacy
Clause. Id. at 393. Defendants’ argument here, if accepted, would mean the Supreme Court
unnecessarily reached the merits in Arizona and should have concluded the United States did not
have a cause of action in the first place. In other words, Defendants’ position is that the Supreme
Court missed a threshold and outcome-determinative issue.
       Defendants are misinterpreting Armstrong. Although it held that the Supremacy Clause
does not independently create a cause of action, Armstrong also reaffirmed the well-established
principle that equity will provide such a cause of action in appropriate circumstances. Id. at 327–
28. Those circumstances did not exist in Armstrong because the relevant statute reflected
Congress’s intent to foreclose equitable relief. Id. There is nothing in Armstrong to suggest,
however, that the United States cannot bring a cause of action in equity to try to establish federal
preemption of state law. Id. To the contrary, both before and after Armstrong, courts have
consistently entertained lawsuits brought by the United States in equity to enjoin a state law based
on the Supremacy Clause. See, e.g., United States v. Washington, 596 U.S. 832 (2022); United

                                                18
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 19 of 25




States v. California, 921 F.3d 865, 876 (9th Cir. 2019); United States v. South Carolina, 720 F.3d
518, 523–24 (4th Cir. 2013); United States v. Alabama, 691 F.3d 1269, 1279 (11th Cir. 2012); see
also United States v. Texas, 557 F. Supp. 3d 810, 820 (W.D. Tex. 2021) (“[T]he United States has
brought many lawsuits under the Supremacy Clause in the years since Armstrong without any
questioning of the Supremacy Clause as the basis for a federal cause of action.”) As Defendants
have not cited a single case to the contrary, the Court has little difficulty rejecting their position
that the United States has not stated a viable cause of action.
                    2. Plaintiffs Are Likely to Prevail in Arguing that Federal Immigration Laws
                       Preempt Senate File 2340.
        The next question is whether the United States and Iowa MMJ Plaintiffs are likely to
succeed on their preemption arguments. The Western District of Texas (Ezra, J.) recently analyzed
this issue in the context of a Texas law, S.B. 4, that contains similar language to Senate File 2340.
See United States v. Texas, --- F. Supp. 3d ----, 2024 WL 861526 (W.D. Tex. Feb. 29, 2024). The
United States Court of Appeals for the Fifth Circuit has not yet issued a final decision on appeal
from Judge Ezra’s ruling, but it did issue an extensive interlocutory ruling denying Texas’s request
for a stay of enforcement of the injunction. See United States v. Texas, 97 F.4th 268 (5th Cir.
2024). Both the Fifth Circuit and Judge Ezra concluded that S.B. 4 is likely unconstitutional on
preemption grounds under Arizona, 567 U.S. 387. This Court finds their analysis persuasive and
equally applicable to Senate File 2340.
        In Arizona, the Arizona Legislature enacted a law that created two new immigration-related
criminal offenses, one for failure to comply with federal alien-registration requirements and the
other for seeking or engaging in work in Arizona as an unauthorized alien. 567 U.S. at 393–94.
The law also contained provisions giving state and local law enforcement officers the authority to
make warrantless arrests of people believed to be removable from the United States and to make
a “reasonable attempt . . . to determine the immigration status” of any person stopped, detained, or
arrested, if “reasonable suspicion exists that the person is an alien and is unlawfully present in the
United States.” Id. at 407, 411. The Supreme Court held that the two new criminal provisions were
preempted by federal law and therefore properly enjoined. Id. at 403, 407. It further held that the
provision authorizing state and local law enforcement officers to make warrantless arrests of
people suspected of being removable was also preempted by federal law and properly enjoined.
Id. at 410. It reversed the entry of injunctive relief, however, as to the provision requiring state and
local law enforcement officers to investigate the immigration status of anyone they arrest if there
                                                  19
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 20 of 25




is reasonable suspicion that the person is in the country unlawfully, holding that “[t]here is a basic
uncertainty about what the law means and how it will be enforced. At this stage, without the benefit
of a definitive interpretation from the state courts, it would be inappropriate to assume [the law]
will be construed in a way that creates a conflict with federal law.” Id. at 415.
        Unlike Senate File 2340 (and S.B. 4 in Texas), the Arizona law at issue in Arizona did not
impose state criminal penalties for the crime of illegal reentry. The Arizona law did, however,
“replicate[]” federal alien-registration laws by “add[ing] a state-law penalty for conduct proscribed
by federal law.” Id. at 400, 403. The Supreme Court held that Arizona was preempted from doing
so because Congress fully occupied the field of alien registration, leaving no room for additional
state regulation. Id. at 401. It did not matter that the Arizona law “ha[d] the same aim as federal
law and adopt[ed] its substantive standards” because “States may not enter, in any respect, an area
the Federal Government has reserved for itself.” Id. at 402.
        The Fifth Circuit and Judge Ezra concluded that the Supreme Court’s logic applies with
equal force to state law attempts to criminalize illegal reentry. See Texas, 97 F.4th at 279–82;
Texas, 2024 WL 861526, at *11–18. The Fifth Circuit explained that “Congress enacted the
Immigration and Nationality Act (INA) to establish a ‘comprehensive federal statutory scheme for
regulation of immigration and naturalization’ and to set ‘the terms and conditions of admission to
the country and the subsequent treatment of aliens lawfully in the country.’” Id. at 279–80 (quoting
DeCanas v. Bica, 424 U.S. 351, 353, 359 (1976)). S.B. 4 interfered with this comprehensive federal
scheme by criminalizing behavior “already prohibited by the INA.” Id. at 280. According to the
Fifth Circuit, this is just as problematic in the context of illegal reentry as it is in the context of the
alien-registration statute at issue in Arizona; in both places, “[p]ermitting the State to impose its
own penalties for the federal offenses here would conflict with the careful framework Congress
adopted.” Id. (quoting Arizona, 567 U.S. at 402).
        In arguing otherwise, Defendants try to distinguish Arizona by pointing out that the
Arizona law criminalized alien-registration violations that were not criminal offenses under federal
law. The Arizona law therefore went further than federal law. Like the Fifth Circuit and Judge
Ezra, however, the Court concludes that there is no reasonable way to interpret Arizona as
forbidding state law attempts to criminalize alien registration violations but allowing state law
attempts to criminalize illegal reentry. The underlying problem is the same in either context:
Congress “left no room” for state regulation because such regulation would “frustrate federal

                                                    20
     Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 21 of 25




policies” and interfere with the comprehensive scheme established under federal law. See Arizona,
567 U.S. at 399, 402; see Texas, 97 F.4th at 279–86. It follows that Senate File 2340 is field
preempted. See Texas, 97 F.4th at 286 (holding that the federal government has occupied the
“entire field of unlawful entry and reentry of noncitizens as well as removal” (internal punctation
omitted)).
       Arizona would compel this conclusion irrespective of whether there are substantive
differences between the criminal provisions of Senate File 2340 and the federal illegal reentry
statute because field preemption makes any such differences irrelevant. Nonetheless, it is worth
noting that Senate File 2340 also would be preempted under principles of conflict preemption,
which “exists where ‘compliance with both state and federal law is impossible,’ or where ‘the state
law stands as an obstacle to the accomplishment and execution of the full purposes and objectives
of Congress.’” Pharm. Rsch. & Mfgrs. of Am. v. McClain, 95 F.4th 1136, 1140 (8th Cir. 2024)
(quoting Oneok, Inc. v. Learjet, Inc., 575 U.S. 373, 377 (2015)). Here, under federal law, people
like Plaintiffs Doe and Roe are not criminally liable for illegal reentry because, although they were
previously removed from the United States, they later obtained permanent legal status and thus
now have a meritorious defense to an illegal reentry charge. See 8 U.S.C. § 1326(a)(2). By contrast,
under Iowa Code § 718C.2(1), permanent legal status is not a defense, and thus Doe and Roe have
criminal exposure. Meaning: the State of Iowa can arrest them and put them in jail for something
the United States has given them permission to do. This is untenable. See Texas, 2024 WL 861526,
at *21 (holding that S.B. 4 “plainly conflicts with federal law by instructing state judges to
disregard pending federal defenses”); see also South Carolina, 720 F.3d at 530 (“In essence, [state
law] operate[s] to criminalize unlawful presence, a stance plainly at odds with federal law.”).
       Equally untenable is the fact that Senate File 2340 prohibits state court judges from abating
prosecutions for illegal reentry while the person being prosecuted seeks relief under federal law.
See Iowa Code § 718C.6 (“A court may not abate the prosecution of an offense under this chapter
on the basis that a federal determination regarding the immigration status of the person is pending
or will be initiated.”). The point is clear: Senate File 2340 does not permit federal immigration law
to run its course. Under principles of conflict preemption, this violates the Supremacy Clause. See
Texas, 97 F.4th at 291 (giving state judges power to make removal decisions without notice to or
consent from the federal government “conflict[s] with federal law” and “sidesteps the sensitive
issues that federal immigration officers are to consider”)

                                                 21
     Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 22 of 25




       The fact that Senate File 2340 compels Iowa state court judges to issue orders requiring
noncitizens to return to the foreign nation from which they came makes the conflict preemption
problem even worse. See Iowa Code § 718C.4(4). Congress has established an intricate and
specialized system, with multiple layers of review by trained immigration officials and judges, for
determining when someone can be removed from this country and where they must go. See Texas,
97 F.4th at 284–85. Importantly, noncitizens are not always returned to the foreign nation from
which they came; instead, there are sometimes national security, border security, or foreign affairs
reasons for sending them elsewhere. See Jama, 543 U.S. at 348. By contrast, Senate File 2340
recognizes none of this nuance and instead bluntly requires state court judges to order aliens to
leave the United States and return to the foreign nation from which they came. Again, this creates
an untenable dichotomy between federal and state law in an area where the Supreme Court has
recognized that the United States must speak with a single, harmonious voice. See Texas, 97 F.4th
at 291 (recognizing it “significantly conflict[s]” with federal law when state court judges are
permitted to select the countries to which noncitizens will be removed).
       Although it would not matter to the outcome, the Court is not persuaded by Defendants’
argument that Iowa Code § 718C.4(4) merely requires Iowa state court judges to perform a
“ministerial” function. There is nothing “ministerial” about issuing an order “requiring the person
to return to the foreign nation from which the person entered or attempted to enter,” particularly
when noncompliance with the order is punishable by imprisonment. See Texas, 2024 WL 861526,
at *15–16 (rejecting Texas’s position that removal order was not a true “removal” and concluding
instead that such orders are an “especially problematic intrusion on federal prerogatives”). Indeed,
Senate File 2340 even requires the state court judge to identify the “manner of transportation of
the person to a port of entry” and the “law enforcement officer or state agency responsible for
monitoring compliance with the order.” Iowa Code § 718C.4(5). This is for all intents and purposes
an order of removal, except that it: (i) is issued by judges who have no training or experience with
the nuances of the removal process (not that Iowa Code § 718C.4(4) allows any nuance anyway);
(ii) does not contain the safeguards that are present under federal law; and (iii) makes no attempt
to account for the complexities associated with deciding whether to remove someone and to where.
       The bottom line is that Senate File 2340 is preempted by federal law under principles of
both field and conflict preemption. See Arizona, 567 U.S. at 409 (“[T]he removal process is



                                                22
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 23 of 25




entrusted to the discretion of the Federal Government.”). The United States and Iowa MMJ
Plaintiffs are therefore likely to prevail on their claims under the Supremacy Clause. 8
                 3. The Remaining Dataphase Factors Weigh in Favor of Injunctive Relief.
        Because the likelihood of success factor is the most important to determining whether to
award injunctive relief, see Carson, 978 F.3d at 1059, the Court’s analysis of the merits goes a
long way toward making such relief appropriate. Nonetheless, the Court also will analyze the other
three Dataphase factors: threat of irreparable harm, balance of harms, and public interest. See Sleep
No. Corp., 33 F.4th at 1016 (listing factors).
        As to irreparable harm, some courts have held that “Supremacy Clause violations trigger a
presumption of irreparable harm,” see United States v. Idaho, 623 F. Supp. 3d 1096, 1115 (D.
Idaho 2022), or that the “United States has shown irreparable harm as a matter of law” in such
circumstances, Texas, 2024 WL 861526, at *38. The parties have not cited—nor has the Court
independently located—an Eighth Circuit case using such strong language, and thus the Court will
not treat irreparable harm as automatic or even presumed when the United States shows a
likelihood of success on preemption. Nonetheless, persuasive authority recognizes that the United
States clearly would suffer some level of significant harm when a state tries to enforce its own
immigration laws that are likely preempted by federal law. See, e.g., South Carolina, 720 F.3d at
533; Alabama, 691 F.3d at 1301 (“The United States suffers injury when its valid laws in a domain
of federal authority are undermined by impermissible state regulations.”). This makes sense: the
whole point of field preemption, in particular, is that the federal regulatory scheme is “so pervasive
. . . that Congress left no room for the States to supplement it.” Arizona, 567 U.S. at 399 (quoting
Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947)).
        In the context of Senate File 2340, the potential harms include, inter alia: (a) permanent
legal residents facing a risk of prosecution and criminal punishment under state law despite having
permission under federal law to be present in the United States; (b) state court prosecutions for
illegal reentry moving forward even when defendants are in the process of applying for legal status
under federal law; (c) untrained state court judges entering orders requiring noncitizens to leave
the United States following an adjudicatory process with fewer safeguards and far less


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  Because the United States and Iowa MMJ Plaintiffs are likely to prevail on their claims under the Supremacy Clause,
the Court need not address their likelihood of prevailing under the Foreign Commerce Clause. See Richland/Wilkin
Joint Powers Auth. v. U.S. Army Corps of Eng’rs, 826 F.3d 1030, 1040 (8th Cir. 2016) (plaintiff must only establish
a likelihood of success on “any one of” its claims).

                                                        23
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 24 of 25




sophistication than the federal system; (d) state court judges requiring noncitizens to return to
countries where they might not be accepted or might face persecution or torture, in violation of
federal laws and treaties; (e) noncitizens being delivered to a port of entry with no clear mechanism
for what happens next; and (f) corresponding impacts on international relations and foreign affairs.
Collectively, these harms are significant enough to make the threat of irreparable harm factor
weigh in favor of injunctive relief as to both the United States and Iowa MMJ Plaintiffs. See Texas,
2024 WL 861526, at *38–40; see also South Carolina, 720 F.3d at 533 (“The irreparable injury to
the nation’s foreign policy if the relevant sections take effect has been clearly established by the
United States. And for individual, unlawfully present immigrants and others, the likelihood of
chaos resulting from South Carolina enforcing its separate immigration regime is apparent.”).
        Regarding the balance of harms and public interest factors, the Eighth Circuit has held that
they “drop from the case” altogether if a plaintiff establishes preemption and irreparable harm.
Bank One v. Guttau, 190 F.3d 844, 847–48 (8th Cir. 1999) (“[The party challenging the state
legislation] will be entitled to injunctive relief no matter what the harm to the State, and the public
interest will perforce be served by enjoining the enforcement of the invalid provisions of state
law.”). More recently, the Eighth Circuit has held that those two factors “merge” when the party
opposing the injunction is a state official acting in his or her official capacity. See Eggers v. Evnen,
48 F.4th 561, 564–65 (8th Cir. 2022). In an abundance of caution, the Court will not disregard the
balance of harm and public interest factors altogether, but rather will follow Eggers v. Evnen by
treating them as one-and-the-same.
        The crucial question is whose interest prevails in a situation where the United States and
State of Iowa are on opposite sides of the case, as both sides can credibly claim injury to the public
when they are enjoined from executing their respective laws as they see fit. See Texas, 97 F.4th at
295–96 (recognizing that both the United States and Texas face potential irreparable harm). The
Fifth Circuit held that in the areas of immigration and foreign affairs, it is the federal interest that
prevails, as “state and local interests are subservient to those of the nation at large.” Id. at 296
(citing Hines v. Davidowitz, 312 U.S. 52, 63–64 (1941)). The Fourth and Eleventh Circuits agree.
See Alabama, 691 F.3d at 1301 (“[W]e discern no harm from the state’s nonenforcement of invalid
legislation.”); South Carolina, 720 F.3d at 533 (affirming entry of preliminary injunction). This
Court finds these cases persuasive and therefore concludes that the “merged” balance of harm and



                                                  24
      Case 4:24-cv-00161-SHL-SBJ Document 51 Filed 06/17/24 Page 25 of 25




public interest factors weigh in favor of injunctive relief when, as here, the state law is likely
preempted by federal law. See also Guttau, 190 F.3d at 847–48.
       This conclusion does not change even if, as Defendants argue, Senate File 2340 should be
interpreted the same way as federal law. In that scenario, Iowa is not trying to enforce any unique
interest, but rather is trying to help (or, one might say, to compel) the United States to carry out
federal immigration laws. The federal interest remains just as paramount in this circumstance as it
would be if the federal and state laws diverged. See Arizona, 567 U.S. at 401 (“Field preemption
reflects a congressional decision to foreclose any state regulation in the area, even if it is parallel
to federal standards.”).
       In sum, the Dataphase factors weigh in favor of injunctive relief for both the United States
and Iowa MMJ Plaintiffs as to the provisions of Senate File 2340 making illegal reentry a state
law crime, requiring state court judges to enter orders requiring noncitizens to leave, and
forbidding the abatement of state criminal prosecutions even when defendants have initiated or
intend to initiate federal proceedings to establish lawful status. Because Defendants admit these
provisions cannot be severed from the remaining aspects of Senate File 2340 (see United States
Docket ECF 28, p. 51), the Court concludes that the Dataphase factors weigh in favor of
preliminary injunctive relief as to Senate File 2340 as a whole.
VI.    CONCLUSION.
       The United States and Iowa MMJ Plaintiffs have established a likelihood of success on the
merits of their position that federal immigration law preempts Senate File 2340 under both conflict
and field preemption. For this reason, and because the remaining preliminary injunction factors
also weigh in favor of injunctive relief, the Court GRANTS the motions for preliminary injunction
filed by the United States and Iowa MMJ Plaintiffs in their respective cases. Defendants are hereby
ENJOINED from enforcing Senate File 2340 pending further proceedings.
       IT IS SO ORDERED.


       Dated: June 17, 2024                      ______________________________________
                                                   STEPHEN H. LOCHER
                                                   U.S. DISTRICT JUDGE




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